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                                    UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                      ) Case No. CR 18-577 CRB
                                                    )
15           Plaintiff,                             ) STIPULATION AND [PROPOSED] ORDER
                                                    )
16      v.                                          )
                                                    )
17   STEPHEN KEITH CHAMBERLAIN,                     )
                                                    )
18           Defendant.                             )
                                                    )
19                                                  )

20                                              STIPULATION

21           WHEREAS, on November 29, 2018, the Grand Jury returned an Indictment against Stephen
22 Keith Chamberlain, a resident of the United Kingdom (Document 1);

23           WHEREAS, on February 4, 2019, defendant Chamberlain (“the defendant”) appeared before the
24 Court (with counsel specially appearing), was arraigned on the Indictment, and pleaded not guilty to all

25 counts;

26           WHEREAS, on March 21, 2019, the Grand Jury returned a Superseding Indictment against
27 Chamberlain (Document 21);

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 2          WHEREAS, on January 23, 2020, the Court entered a protective order respecting certain

 3 discovery (Document 54);

 4          WHEREAS, on January 27, 2020, the government produced a substantial volume of discovery to

 5 the defendant, including materials subject to the protective order;

 6          WHEREAS, on February 21, 2020, the government made an additional production of discovery

 7 to the defendant;

 8          WHEREAS, on March 16, 2020, the Court issued General Order No. 72 (IN RE: Coronavirus

 9 Disease Public Health Emergency), providing that “[n]o jury trial will be commenced before May 1,

10 2020,” and that “[d]ue to the Court’s reduced ability to obtain an adequate spectrum of jurors and the

11 effect of the above public health recommendations on the availability of counsel and court staff to be

12 present in the courtroom, the time period of the continuances implemented by this General Order will be

13 excluded under the Speedy Trial Act, as the Court specifically finds that the ends of justice served by

14 ordering the continuances outweigh the interest of the public and any defendant’s right to a speedy trial

15 pursuant to 18 U.S.C. section 3161(h)(7)(A)”;

16          WHEREAS, on April 3, 2020, upon the stipulation of the parties, the Court issued an order

17 finding that the time to June 17, 2020 (the date the parties were scheduled to appear for a status

18 conference) shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A),
19 (B)(ii) & (iv) (Document 60);

20          WHEREAS, on April 30, 2020, the Court issued General Order No. 72-2 (IN RE: Coronavirus

21 Disease Public Health Emergency), providing that “[n]o jury trial will be commenced before June 1,

22 2020”;

23          WHEREAS, on May 21, 2020, the Court issued General Order No. 72-3 (IN RE: Coronavirus

24 Disease Public Health Emergency), providing that “[n]o new jury trial will be conducted through June

25 30, 2020”;

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 1          WHEREAS, on June 17, 2020, the Court convened a status conference and, after hearing from

 2 the parties, set a further status conference for February 3, 2021, and excluded time under the Speedy

 3 Trial Act from June 17, 2020, through February 3, 2021;

 4          WHEREAS, on or about January 29, 2021, after consultation with the parties, a Clerk’s Notice

 5 was issued continuing the status conference to May 20, 2021;

 6          WHEREAS, on March 31, 2021, a Clerk’s Notice was issued advancing the status conference to

 7 May 19, 2021;

 8          WHEREAS issues arising from the COVID-19 pandemic continue to impede the parties’ ability

 9 to effectively prepare the case for trial, including the ability to meet with witnesses, some of whom

10 reside outside the United States;

11          WHEREAS, during the week of February 8, 2021, hearings were held in the extradition

12 proceeding relating to co-defendant Michael Richard Lynch, and the extradition proceeding was

13 adjourned for further oral submissions on May 4, 2021;

14          WHEREAS the hearing date for further oral submissions was subsequently continued to July 22,

15 2021;

16          WHEREAS, on or about July 22, 2021, Judge Michael Snow of the City of Westminster

17 Magistrates’ Court issued Findings of Fact and Reasons, rejecting Mr. Lynch’s challenge to extradition,

18 ordering that extradition is compatible with Mr. Lynch’s rights, and sending the case to the U.K.
19 Secretary of State for a decision as to whether the defendant is to be extradited;

20          WHEREAS, the parties stipulate and agree, and respectfully request that the Court order, that the

21 status conference currently set for September 29, 2021, be continued to February 16, 2022;

22          WHEREAS, on September 27, 2021, the Court found that an exclusion of time under the Speedy

23 Trial Act from September 29, 2021, to February 16, 2022, was appropriate due to the complexity of the

24 case, the need for defense counsel to review relevant evidence including recently produced discovery

25 and discovery arising from the extradition proceeding, consult with the defendant in the United States

26 and effectively prepare, and the ongoing COVID-19 pandemic (Document 80);

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 1          WHEREAS, on November 1, 2021, the defendant Stephen Chamberlain made pretrial motions

 2 for the Issuance of Rule 17 Subpoenas and Letters Rogatory (Document 81) and for a Bill of Particulars

 3 (Document 85).

 4          WHEREAS, pursuant to 18 U.S.C. § 3161(h)(1)(D), the time within which the trial of the

 5 offense must commence is excluded under the Speedy Trial Act from delay resulting from any pretrial

 6 motion through the conclusion of the hearing on or other prompt disposition of the motion.

 7          WHEREAS, on November 15, 2021, the government made a pretrial motion for the Issuance of

 8 Rule 17 Subpoenas (Document 91).

 9          WHEREAS, on December 1, 2021, the Court heard arguments on the pretrial motions and (1)

10 ruled on the defendant’s motion for the Issuance of Rule 17 subpoenas; (2) deferred and did not rule on

11 the defendant’s motion for a Bill of Particulars and the government’s motion for the Issuance of Rule 17

12 Subpoenas; and (3) adjourned the matter to February 16, 2022, for a further hearing, excluding time

13 under the Speedy Trial Act (Document 62).

14          WHEREAS, on January 28, 2022, the UK Secretary of State issued an Order for Extradition

15 Pursuant to Section 93(4) of the Extradition Act 2003, directing that defendant Lynch be extradited to

16 the United States.

17          WHEREAS, from January through May 2022, counsel for defendant Chamberlain and counsel

18 for the government have conferred in detail about the pending motions and discussed the review of
19 certain discovery made available by the United States Attorney’s Office.

20          WHEREAS, from March 16, 2022, to June 3, 2022, the Court adjourned the hearing on the

21 pending motions multiple times at the request of the parties to permit them time to confer about the

22 motions (Documents 103, 106, 109, and 110).

23          WHEREAS, on May 4, 2022, the Court ordered a briefing schedule on the issues that remain in

24 dispute and adjourned the case for a hearing on June 3, 2022 (Document 110).

25          THEREFORE, the parties stipulate and agree, and respectfully request that the Court order, that

26 (1) excluding time from April 20, 2022, to June 3, 2022, during the pendency of the pretrial motions, is

27 appropriate under 18 U.S.C. § 3161(h)(1)(D); (2) the exclusion of time will also allow for the effective

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 1 preparation of counsel given the complexity of the case, see 18 U.S.C. § 3161(h)(7)(B)(ii) & (iv); and

 2 (3) the ends of justice served by excluding the time from April 20, 2022, to June 3, 2022, from

 3 computation under the Speedy Trial Act outweigh the best interests of the public and the defendant in a

 4 speedy trial, see 18 U.S.C. § 3161(h)(7)(A), (B)(ii) & (iv). The parties stipulate and agree the Court

 5 shall enter the proposed order below.

 6          IT IS SO STIPULATED.

 7 DATED: May 12, 2022                                   STEPHANIE M. HINDS
                                                         United States Attorney
 8
                                                         /s/ Adam A. Reeves
 9                                                       __________________________
                                                         ROBERT S. LEACH
10                                                       ADAM A. REEVES
                                                         Assistant United States Attorneys
11
     DATED: May 12, 2022                                 BIRD, MARELLA, BOXER, WOLPERT,
12                                                       NESSIM, DROOKS, LINCENBERG, & RHOW,
                                                         P.C.
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14                                                       /s/ Gary S. Lincenberg
                                                         __________________________
15                                                       GARY S. LINCENBERG
                                                         Counsel for Defendant Stephen Chamberlain
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 1                                           [PROPOSED] ORDER

 2          FOR GOOD CAUSE SHOWN, based upon the facts set forth in the stipulation and the

 3 representations of the parties, the Court hereby finds that excluding the time from April 20, 2022, to

 4 June 3, 2022, is warranted during the pendency of the pretrial motions pursuant to 18 U.S.C. §

 5 3161(h)(1)(D), and failing to exclude time from April 20, 2022, to June 3, 2022, would unreasonably

 6 deny defense counsel and the defendant the reasonable time necessary for effective preparation, taking

 7 into account the exercise of due diligence and the complexity of the case. 18 U.S.C. § 3161(h)(7)(B)(ii)

 8 & (iv). The Court further finds that the ends of justice served by excluding the time from April 20,

 9 2022, to June 3, 2022, from computation under the Speedy Trial Act outweigh the best interests of the

10 public and the defendant in a speedy trial. Therefore, with the consent of the parties, it is hereby ordered

11 that the time from April 20, 2022, to June 3, 2022, shall be excluded from computation under the Speedy

12 Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(ii) & (iv).

13          IT IS SO ORDERED.

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15 DATED:
                                                  _________________________________________
16                                                THE HONORABLE CHARLES R. BREYER
17                                                United States District Judge

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